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  15
                        IN THE UNITED STATES DISTRICT COURT

  16
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

  17
                                     WESTERN DIVISION

  18   PAUL SNITKO, JENNIFER                      Case No. 2:21-cv-04405-RGK-MAR
       SNITKO, JOSEPH RUIZ, TYLER
  19   GOTHIER, JENI VERDON-                      PLAINTIFFS’ FIRST AMENDED
       PEARSONS, MICHAEL STORC,                   COMPLAINT FOR RETURN OF
  20   and TRAVIS MAY,                            PROPERTY AND CLASS-WIDE
                             Plaintiffs,          DECLARATORY AND
  21                                              INJUNCTIVE RELIEF
                v.
  22                                              CLASS ACTION
  23   UNITED STATES OF AMERICA,
       TRACY L. WILKISON, in her
  24   official capacity as Acting United
       States Attorney for the Central
  25   District of California, and KRISTI
       KOONS JOHNSON, in her official
  26   capacity as an Assistant Director of
       the Federal Bureau of Investigation,
  27
                                    Defendants.
  28

           PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
                                DECLARATORY AND INJUNCTIVE RELIEF
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   1                                    INTRODUCTION
   2         This civil-rights lawsuit seeks to vindicate the constitutional rights of
   3   hundreds of people whose property was illegally seized and subjected to a criminal
   4   search by the Federal Bureau of Investigation (FBI). These property owners rented
   5   safe deposit boxes from U.S. Private Vaults (USPV) to secure their prized
   6   possessions, including family heirlooms, copies of their wills and other important
   7   legal documents, and money needed for savings and for everyday expenses.
   8         On March 22, 2021, the FBI raided USPV and seized the contents of
   9   hundreds of deposit boxes from USPV’s customers, like Plaintiffs Paul and Jennifer
  10   Snitko, Joseph Ruiz, Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc, and
  11   Travis May. Although the government has indicted USPV, the government has not
  12   accused USPV’s customers of violating any law. And while a warrant authorized
  13   the government to seize USPV’s property, the warrant did not authorize the
  14   government to conduct a criminal search or seizure of USPV’s customers’ property.
  15   But the government did just that and, over two months later, the government is still
  16   holding many of those customers’ property.
  17         Moreover, even though the warrant explicitly contemplated that customers’
  18   property would be returned, the government has now filed civil forfeiture notices
  19   against hundreds of USPV’s customers. These notices do not identify any legal
  20   basis for the forfeiture: Although they cite the civil forfeiture laws generally, the
  21   notices do not identify the specific offense that the government believes justifies the
  22   forfeiture. Box holders thus do not know whether the government is accusing them
  23   of drug crimes, money laundering, structuring, or some other offense altogether (or,
  24   indeed, if the government is even accusing them of any crime at all). Nor do the
  25   notices include any factual basis to explain why the government believes the
  26   property is subject to civil forfeiture. To all appearances, the government is seeking
  27   to civilly forfeit the contents of these boxes simply because they held cash or
  28
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   1   precious metals. But, of course, the fact that a person holds cash (or gold or silver)
   2   in a safe deposit box is not an adequate or legal basis for civil forfeiture.
   3         The government’s behavior is shocking, unconscionable, and
   4   unconstitutional. First, the government’s initial search and seizure of Plaintiffs’
   5   property violates the Fourth Amendment: The government exceeded both the
   6   justification for the inventory search doctrine and the limited scope of its warrant by
   7   opening owners’ safe deposit boxes, running any currency found in front of drug-
   8   sniffing dogs, and failing to do any proper inventory of those boxes’ contents.
   9   Indeed, the simplest way to have secured people’s possessions for their return
  10   would have been to leave the nest of safe deposit boxes intact. Second, the
  11   government’s continued retention of Plaintiffs’ property violates the Fourth and
  12   Fifth Amendments: The government must provide owners with a basis for the
  13   continued retention of property and a prompt and meaningful way to secure its
  14   return. Third, the government’s mass civil forfeiture proceedings violate the Fourth
  15   and Fifth Amendments because they do not provide adequate notice of the basis for
  16   the forfeiture and have been commenced without any identified factual basis to
  17   support a finding of probable cause. And finally, the government’s use of owners’
  18   property as leverage to extract information from those owners also violates the Fifth
  19   Amendment.
  20         To correct these constitutional violations, this Complaint raises both class
  21   and individual claims. On behalf of a class of individuals who came forward to
  22   identify themselves to the FBI after losing their property in the March 22, 2021
  23   raid, the Complaint seeks declaratory and injunctive relief barring the government
  24   from improperly retaining and/or using records created through its unconstitutional
  25   inventory search. On behalf of further subclasses of individuals whose property is
  26   still being retained by the government, the Complaint seeks declaratory and
  27   injunctive relief that would compel the government to either provide
  28   constitutionally adequate notice of the legal and factual basis of the continued
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   1   detention of the property or else give the property back. And, finally, the Complaint
   2   brings individual claims on behalf of the individual Plaintiffs seeking the return of
   3   their property.
   4                             JURISDICTION AND VENUE
   5         1.     Plaintiffs bring their class-action Fourth and Fifth Amendment claims
   6   under the Administrative Procedure Act, 5 U.S.C. § 702, and the Declaratory
   7   Judgments Act, 28 U.S.C. §§ 2201, 2202, as well as directly under the U.S.
   8   Constitution. Plaintiffs seek declaratory and injunctive relief against the
   9   government’s unconstitutional search, retention, and use of their property.
  10         2.     Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
  11   Verdon-Pearsons, Michael Storc, and Travis May bring their individual claims for
  12   return of seized property under Federal Rule of Criminal Procedure 41(g) and the
  13   Court’s inherent equitable power. They are entitled to the immediate return of their
  14   property as they are not targets of any criminal investigation and the government’s
  15   continued detention of their property both violates the Fourth Amendment and
  16   works a hardship on Plaintiffs.
  17         3.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331, as
  18   Plaintiffs’ claims arise under federal law.
  19         4.     While the government has issued notices that purport to commence
  20   administrative forfeiture proceedings against at least some of the seized property of
  21   Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May, those
  22   notices do not deprive this Court of subject-matter jurisdiction with respect to the
  23   class-wide claims brought by these Plaintiffs because the class-wide claims do not
  24   seek an order requiring the return of any particular individual’s property and rather
  25   seek to vindicate the Fourth and Fifth Amendment rights of the class as a whole.
  26         5.     Additionally, the government’s administrative forfeiture notices do not
  27   divest the Court of jurisdiction to entertain any of the individual Plaintiffs’ Rule
  28   41(g) motions because the notices are procedurally defective and thus incapable of
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   1   divesting this Court of subject-matter jurisdiction. The government has not
   2   provided Joseph Ruiz with any individual notice of the purported forfeiture of his
   3   property, and simply sent the notice to attorneys for USPV. Likewise, the
   4   government has not provided Travis May any individual notice of the purported
   5   forfeiture of his gold, although it did send him individual notice of the purported
   6   forfeiture of his cash. And all the forfeiture notices are procedurally defective
   7   insofar as they do not state the legal or factual basis for the attempted forfeiture.
   8         6.     Finally, the forfeiture notices received by Plaintiffs Jeni Verdon-
   9   Pearsons and Michael Storc cannot affect this Court’s jurisdiction over their class
  10   or individual claims because both Jeni and Michael submitted administrative claims
  11   in response to their forfeiture notices prior to the filing of Plaintiffs’ First Amended
  12   Complaint, thereby terminating the purported administrative forfeiture proceeding
  13   with respect to their property.
  14         7.     Venue is proper in the United States District Court for the Central
  15   District of California under 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1), as well as
  16   Federal Rule of Criminal Procedure 41(g), because the seizure of Plaintiffs’
  17   property occurred in Beverly Hills, CA. Beverly Hills is in the Western Division of
  18   the Central District of California.
  19                                         PARTIES
  20                                          Plaintiffs
  21         8.     Plaintiffs Paul and Jennifer Snitko are a married couple and adult
  22   residents of Los Angeles County, California. Paul is an aeronautics engineer, and
  23   Jennifer is an entertainment lawyer. At USPV’s Beverly Hills facility, they rented a
  24   safe deposit box in which they placed jewelry, back-up hard drives, legal
  25   documents, Paul’s pilot flight log, and other personal effects. After the government
  26   seized this property on March 22, 2021, they filed a claim with the FBI to retrieve
  27   it. The FBI held their property for over two months without providing any
  28   justification for doing so, but then offered to return the property after the filing of
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   1   this Action. At this time, the FBI continues to hold their property, and, even after
   2   the property is returned, the FBI will continue to hold records of the contents of
   3   their box generated during its unlawful search.
   4         9.     Plaintiff Joseph Ruiz is an adult resident of Los Angeles County,
   5   California. At USPV’s Beverly Hills facility, he rented a safe deposit box in which
   6   he placed approximately $57,000 in cash, money that Joseph relies on to pay his
   7   living and medical expenses. After the government seized this property on March
   8   22, 2021, he filed a claim with the FBI to retrieve it. However, the government has
   9   informed attorneys for USPV that it intends to civilly forfeit Joseph’s property. At
  10   this time, the government has not provided Joseph with any notice of the purported
  11   civil forfeiture proceeding.
  12         10.    Plaintiff Tyler Gothier is an adult resident of Placer County,
  13   California, who maintains an address in Los Angeles County. At USPV’s Beverly
  14   Hills facility, he rented a safe deposit box in which he placed silver and other
  15   personal property. After the government seized his property on March 22, 2021, he
  16   filed a claim with the FBI to retrieve it. After the filing of this Action, the
  17   government left Tyler a voicemail stating that his property would eventually be
  18   returned. But, at this time, the FBI continues to hold Tyler’s property without
  19   providing any justification for doing so, and, even if the property is eventually
  20   returned, the FBI will continue to hold records of the contents of his box generated
  21   during its unlawful search.
  22         11.    Plaintiffs Jeni Verdon-Pearsons and Michael Storc are a married
  23   couple and adult residents of Los Angeles County, California. Jeni is the Director
  24   of Operations for a nonprofit theater and Michael works in the film industry as a
  25   transportation coordinator. At USPV’s Beverly Hills facility, they rented a safe
  26   deposit box in which they placed silver and about $2,000 in cash, as well as various
  27   personal documents. After the government seized this property on March 22, 2021,
  28   they filed a claim with the FBI to retrieve it. However, the government sent them a
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           PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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   1   notice stating that it is seeking to civilly forfeit their silver. The notice does not
   2   state the factual or legal basis for the purported civil forfeiture proceeding. In
   3   addition, while the government is not seeking to forfeit their cash or the documents
   4   in their box, the FBI continues to hold that property.
   5         12.    Plaintiff Travis May is an adult resident of Los Angeles County,
   6   California. Travis is the CEO of TollFreeForwarding.com, a company that provides
   7   international call forwarding services. He gives a significant portion of his income
   8   to charity, and he sits on the board of trustees of a national nonprofit organization.
   9   At USPV’s Beverly Hills facility, he rented a safe deposit box in which he placed
  10   gold and approximately $63,000 in cash. After the government seized this property
  11   on March 22, 2021, he filed a claim with the FBI seeking to retrieve it. The
  12   government has notified Travis that it is seeking to forfeit his $63,000 in cash, but
  13   the notice does not state the factual or legal basis for the purported civil forfeiture
  14   proceeding. In addition, while the government has informed attorneys for USPV
  15   that it intends to forfeit Travis’s gold, the government has not provided Travis with
  16   individual notice of that purported forfeiture action.
  17         13.    Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
  18   Verdon-Pearsons, Michael Storc, and Travis May represent a putative class of
  19   USPV customers who identified themselves to the FBI after the government seized
  20   their property from their safe deposit boxes on or around March 22, 2021.
  21                                         Defendants
  22         14.    Defendant United States of America is the national federal government
  23   established by the U.S. Constitution. As such, it is subject to limitations imposed by
  24   the Constitution, including, as relevant here, the Fourth and Fifth Amendments. The
  25   constitutional violations at issue involve the actions of federal agencies and
  26   employees and are therefore ultimately chargeable to the federal government itself.
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   1         15.    Defendant Tracy L. Wilkison is the Acting U.S. Attorney for the
   2   Central District of California. She is the chief federal law enforcement officer
   3   within this jurisdiction, and she is sued in her official capacity.
   4         16.    Defendant Kristi Koons Johnson is an Assistant Director of the FBI.
   5   She oversees the FBI’s Los Angeles Field Office, and she is sued in her official
   6   capacity.
   7         17.    The Complaint uses the phrase “the government” to refer to the
   8   officers, employees, and agents of the United States of America, including officers,
   9   employees, and agents acting under the direction and control of Defendants
  10   Wilkinson and Johnson.
  11                                FACTUAL ALLEGATIONS
  12               Plaintiffs Deposited Their Personal Property With USPV
  13         18.    USPV is a California corporation that operates a safe-deposit-box
  14   facility in Beverly Hills.
  15         19.    USPV’s Beverly Hills facility houses over 800 safe deposit boxes.
  16         20.    USPV safe-deposit-box service provided renters with several
  17   advantages over traditional banks. For instance, USPV customers could access the
  18   outer vault themselves using biometric data (such as an iris scan or a handprint)
  19   rather than having to wait for a USPV employee to assist them.
  20         21.    Also unlike traditional banks, USPV could not access its customers’
  21   safe deposit boxes without their knowledge. That is because all the keys for
  22   USPV’s safe deposit boxes are left in customers’ hands.
  23         22.    In addition, USPV provided customers with better hours of operation
  24   than most banks, including weekend hours, and offered clients insurance for the
  25   contents of their boxes.
  26         23.    Given USPV’s differences from other safe-deposit-box facilities,
  27   USPV’s services were appealing to customers concerned with their financial
  28   security and privacy, including Plaintiffs.
                                                   8
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   1          24.   When Plaintiffs rented safe deposit boxes from USPV, they had every
   2   impression USPV was a legitimate, law-abiding business.
   3          25.   USPV was a longstanding business in the Beverly Hills area, having
   4   opened its doors in 2011.
   5          26.   Along with its Twitter and Yelp profiles, USPV operated a business
   6   website at usprivatevaults.com.
   7          27.   USPV was also a member of the Beverly Hills Chamber of Commerce.
   8          28.   Given these features, Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz,
   9   Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May trusted USPV
  10   with their personal property.
  11          29.   In April 2017, Plaintiffs Paul and Jennifer Snitko began renting a safe
  12   deposit box from USPV’s Beverly Hills facility.
  13          30.   In their USPV safe deposit box, Paul and Jennifer Snitko left items of
  14   sentimental and practical value, including Paul’s flight log from his aeronautics
  15   career, wristwatches that Paul and his father had obtained from their employers for
  16   their years of service, Paul’s class ring, as well as some collectible coins from
  17   Jennifer’s grandfather. Paul and Jennifer also stored backup copies of their home
  18   computers’ hard drives, gold jewelry, and important legal documents in the box.
  19          31.   Plaintiff Joseph Ruiz also rented a safe deposit box from USPV’s
  20   Beverly Hills facility.
  21          32.   In his USPV safe deposit box, Joseph deposited approximately
  22   $57,000 in cash that he relies on for his daily living and medical expenses.
  23          33.   Plaintiff Tyler Gothier also rented a safe deposit box from USPV’s
  24   Beverly Hills facility.
  25          34.   Tyler put silver and other personal property in his USPV safe deposit
  26   box.
  27          35.   In September 2017, Plaintiffs Jeni Verdon-Pearsons and Michael Storc
  28   also began renting a safe deposit box from USPV’s Beverly Hills facility.
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    1          36.    In their USPV safe deposit box, Jeni and Michael placed silver that
    2   they had purchased as an investment for their retirement savings along with
    3   approximately $2,000 in cash.
    4          37.    In July 2017, Plaintiff Travis May also rented a safe deposit box from
    5   USPV’s Beverly Hills facility.
    6          38.    In his USPV safe deposit box, Travis deposited gold and
    7   approximately $63,000 in cash.
    8          39.    Plaintiffs have keys for their USPV safe deposit boxes.
    9          40.    Each Plaintiff would be able to produce their USPV safe-deposit-box
   10   key upon request.
   11                 The Government Seized Plaintiffs’ Personal Property
   12          41.    On March 9, 2021, the U.S. Attorney’s Office for the Central District
   13   of California indicted the company U.S. Private Vaults.
   14          42.    The March 9, 2021 indictment alleges various wrongdoing by USPV
   15   officials, but it does not indict those officials.
   16          43.    The March 9, 2021 indictment does not specifically allege any
   17   wrongdoing by USPV’s customers.
   18          44.    On March 17, 2021, the government obtained a warrant to seize certain
   19   business property owned by USPV. Critically, however, the warrant did not
   20   authorize the criminal seizure or search of USPV’s customers’ property.
   21          45.    Although the warrant authorized the government to seize USPV’s
   22   “business equipment,” including the “nests of safety deposit boxes and keys, the
   23   warrant specifically stated that the “warrant does not authorize a criminal search or
   24   seizure of the contents of the safety deposit boxes.”
   25          46.    Despite that limited scope, the warrant envisioned that the government
   26   may need to conduct a limited “inventory” search of the contents of the safe deposit
   27   boxes.
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    1         47.    Normally, an inventory search’s purpose is to prevent claims of theft
    2   and loss by creating a record of seized property.
    3         48.    In its application for the March 17, 2021 warrant, the government
    4   promised that any necessary inventory search would be limited in scope. In the
    5   application, the government stated that it would search USPV safe deposit boxes to
    6   “look for contact information or something which identifies the owner” and that,
    7   under official FBI policies, that search would “extend no further than necessary to
    8   determine ownership.”
    9         49.    Consistent with the government’s warrant application, the March 17,
   10   2021 warrant contemplated that, “in accordance with their written policies, agents
   11   shall inspect the contents of the boxes in an effort to identify their owners in order
   12   to notify them so that they can claim their property.”
   13         50.    The government executed the warrant in a March 22, 2021 raid on
   14   USPV’s Beverly Hills location.
   15         51.    In executing the warrant, however, the government overstepped the
   16   March 17, 2021 warrant’s limited scope.
   17         52.    On March 22, 2021, the government seized not just USPV’s business
   18   property, but all the personal property in USPV customers’ safe deposit boxes.
   19         53.    Every customer’s property at USPV on March 22, 2021, was secure
   20   against loss and theft due to its placement in a locked nest of safety-deposit boxes
   21   within a biometric vault.
   22         54.    Yet despite this, the government broke into every safe deposit box at
   23   USPV’s Beverly Hills facility and emptied each box of its contents.
   24         55.    On March 22, 2021, the government seized all the personal property in
   25   the safe deposit boxes rented by Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz,
   26   Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May, as well as all
   27   the property held in every other USPV customer’s safe deposit box.
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    1         56.    The government has not accused—let alone charged—Plaintiffs Paul
    2   and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni Verdon-Pearsons, Michael
    3   Storc, or Travis May with any crime.
    4         57.    The government’s March 22, 2021 search of the contents of USPV
    5   customers’ safe deposit boxes was not an “inventory” search.
    6         58.    After all, had the government been conducting an inventory search—to
    7   prevent loss and theft—there would have been no reason to forcibly open USPV’s
    8   locked safe deposit boxes that were otherwise impervious to loss and theft.
    9         59.    Moreover, even though the government’s warrant application
   10   represented that its safe-deposit-box search would be limited to “look[ing] for
   11   contact information or something which identifies the owner,” FBI agents searched
   12   boxes even after identifying owners.
   13         60.    Per USPV procedures, many safe-deposit-box holders—including
   14   Plaintiffs Paul and Jennifer Snitko, Jennifer Verdon-Pearsons, Michael Storc, and
   15   Travis May—placed a letter containing their contact information, as well as
   16   information identifying their beneficiaries, on top of the interior sleeve of their
   17   boxes. All contents of the boxes, other than this letter, were contained within those
   18   interior sleeves.
   19         61.    If the government had complied with its representations in its warrant
   20   application, it would have stopped its supposed “inventory” search as soon as it
   21   found such letters and would not have searched the contents of the interior sleeves.
   22         62.    But even after finding those letters, government agents continued
   23   rifling through the contents of the boxes, including opening sealed envelopes to
   24   make copies of documents contained within.
   25         63.    On information and belief, the government searched the contents of the
   26   Snitkos’ box even after finding the letter with their contact information taped to the
   27   top of their box’s interior sleeve.
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    1         64.    The government also searched the contents of other Plaintiffs’ boxes—
    2   including Plaintiff Jeni Verdon-Pearsons’s, Michael Storc’s, and Travis May’s
    3   boxes—despite finding the letter with their contact information taped to the top of
    4   their box’s interior sleeve.
    5         65.    On information and belief, the FBI generally made copies of
    6   documents found in owners’ security boxes despite the seizure warrant’s
    7   admonition that it did not authorize a criminal search.
    8         66.    The FBI also had drug dogs sniff any currency it discovered during
    9   this purported “inventory” search.
   10         67.    The inventory sheets created by the FBI in the course of its inventory
   11   search fail to provide the requisite level of detail of what was in owners’ boxes,
   12   instead describing property in vague terms such as “misc. coins.”
   13         68.    As these actions show, the government’s inventory-search rationale
   14   was just a pretext for conducting criminal searches and seizures of USPV
   15   customers’ safe deposit boxes, even though the government’s seizure warrant did
   16   not authorize these searches and seizures and the government had not demonstrated
   17   individualized probable cause to believe that any USPV customer had done
   18   anything wrong.
   19    The Government Asked Plaintiffs To Submit Claims For Their Property But
   20                           Then Did Not Honor Those Claims
   21         69.    The government’s warrant application stated that the purpose of its
   22   purported inventory search was to identify safe-deposit-box owners so as to reunite
   23   them with their property.
   24         70.    The March 17, 2021 warrant did not authorize the government to
   25   retain USPV customers’ property.
   26         71.    In fact, the March 17, 2021 warrant expressly contemplated that safe-
   27   deposit-box holders would be able to “claim their property.”
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    1         72.    After seizing the contents of the USPV boxes, the government placed a
    2   notice on the USPV storefront stating that box holders should file a claim for their
    3   property through a FBI website.
    4         73.    The online form is posted at https://forms.fbi.gov/u-s-private-vaults-
    5   claim-form and is titled “U.S. Private Vaults Claim Form.” It states: “To make a
    6   claim for property stored at U.S. Private Vaults in Beverly Hills, California, please
    7   provide the following information.”
    8         74.    Paul and Jennifer Snitko filed a claim through the FBI’s website
    9   shortly after the government’s March 22, 2021 seizure of their property.
   10         75.    In response to Paul and Jennifer’s claim submission, the FBI sent them
   11   an email stating that the agency would contact them in 30–60 days, as well as a
   12   phone call asking them to provide the number of their safe deposit box. The FBI did
   13   not contact Paul and Jennifer to offer to return their property until after the filing of
   14   this Action—more than two months after the seizure.
   15         76.    Joseph Ruiz, too, filed a claim through the FBI’s website shortly after
   16   the government’s March 22, 2021 seizure of his property.
   17         77.    The FBI’s only response to Joseph was an email stating that the
   18   agency would contact him in 30–60 days.
   19         78.    Tyler Gothier has also filed a claim with the FBI through the FBI’s
   20   website.
   21         79.    At the time of the filing of this Action, no one from the FBI had
   22   contacted Tyler about his claim. Subsequent to the filing of this Action, the FBI
   23   contacted Tyler to say that his property would eventually be returned, but the FBI
   24   has not scheduled a time to return Tyler’s property.
   25         80.    Jeni Verdon-Pearsons and Michael Storc filed their claim through the
   26   FBI’s website shortly after the government’s March 22, 2021 seizure of their
   27   property.
   28
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1         81.    In response to Jeni Verdon-Pearsons and Michael Storc’s claim
    2   submission, the FBI sent them an email stating that the agency would contact them
    3   in 30–60 days, and the FBI then telephoned Jeni to confirm the box number. During
    4   that call, an FBI agent explained that the FBI was “busy” and that Jeni should wait
    5   to receive an email from the FBI about the seized property.
    6         82.    Travis May has also filed a claim with the FBI through the FBI’s
    7   website.
    8         83.    Nobody from the FBI has contacted Travis about his claim.
    9         84.    On information and belief, many other USPV customers submitted
   10   claim forms to the FBI through the FBI’s website seeking the return of their
   11   property.
   12         85.    Nonetheless, the government retained property seized from USPV box
   13   holders who submitted such claims for more than two months after its raid on
   14   USPV’s facility without providing those box holders with any justification for the
   15   prolonged seizure of their property, and, in many cases, the government still
   16   continues to retain that property without any stated justification.
   17         86.    The government has stated that it intends to conduct an “investigation”
   18   to determine if USPV customers came by their property legally, even though the
   19   warrant does not authorize or contemplate any such investigation of USPV box
   20   holders.
   21      The Government Has Commenced Mass Forfeiture Proceedings Against
   22    Hundreds Of USPV Box Holders, Without Adequate Notice Of The Alleged
   23                                Basis For The Forfeiture
   24         87.    On May 20, 2021, the government sent an administrative forfeiture
   25   notice to attorneys for USPV. USPV has posted a copy of that notice to its website,
   26   at https://usprivatevaults.com. This notice is hereinafter referred to as the “USPV
   27   omnibus notice.”
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1         88.      The USPV omnibus notice lists the contents of over 400 USPV safe
    2   deposit boxes and states that the government is seeking to forfeit all of the listed
    3   property. These boxes contain over $85 million in cash, as well as poker chips,
    4   jewelry, and an unspecified amount of gold, silver, and other precious metals.
    5         89.      The USPV omnibus notice states that the government is seeking to
    6   forfeit the $57,000 in cash seized from Joseph Ruiz’s safe deposit box, the gold and
    7   over $63,000 in cash seized from Travis May’s safe deposit box, and the silver
    8   seized from Jeni Verdon-Pearsons’s and Michael Storc’s safe deposit box.
    9         90.      In addition to sending the USPV omnibus notice, the government has
   10   also sent individual forfeiture notices to some of the box holders whose property is
   11   listed in the USPV omnibus notice. For instance:
   12               a. The government sent forfeiture notices to Jeni Verdon-Pearsons and
   13                  Michael Storc informing Jeni and Michael that it is seeking to forfeit
   14                  the silver contained in the box that they shared (but not the $2,000 in
   15                  cash that they stored in the same box).
   16               b. The government also sent Travis May a forfeiture notice informing
   17                  Travis that it is seeking to forfeit the over $63,000 in cash contained in
   18                  his box.
   19         91.      However, the government has not sent forfeiture notices to all of these
   20   property owners. For instance:
   21               a. Although Joseph Ruiz stepped forward to identify himself to the FBI
   22                  shortly after the seizure, the government has not notified Joseph that it
   23                  is seeking to forfeit his $57,000 in cash.
   24               b. Although the USPV omnibus notice states that the government is
   25                  seeking to forfeit the gold contained in Travis May’s safe deposit box,
   26                  the forfeiture notice that the government sent to Travis only informs
   27                  him the government is seeking to forfeit his cash.
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1         92.    The forfeiture notices received by Jeni, Michael, and Travis do not
    2   articulate any constitutionally adequate legal or factual basis to support the
    3   government’s entitlement to forfeit their property. Instead, the notices only cite
    4   general statutory provisions governing forfeiture actions, which in turn incorporate
    5   a broad range of criminal statutes ranging from bribing bank employees, to illegally
    6   skimming equity from farm housing backed by certain loans, to violence against
    7   maritime platforms. The notices do not identify the specific alleged offense that the
    8   government believes justifies the civil forfeiture of the property.
    9         93.    The forfeiture notices sent to Jeni, Michael, and Travis also are legally
   10   deficient insofar as they fail to comply with regulations requiring any notice of
   11   administrative forfeiture to state the specific statutory basis for the seizure. 28
   12   C.F.R. § 8.9(b)(2). Again, the notices do not identify the specific alleged offense
   13   that the government believes justifies the civil forfeiture of the property.
   14         94.    Like the individual forfeiture notices, the USPV omnibus notice does
   15   not cite any specific offense that the government believes justifies the forfeiture.
   16   The USPV omnibus notice cites the general forfeiture laws, but those laws
   17   authorize forfeiture based on numerous criminal offenses and thus do not provide
   18   property owners with notice of the specific alleged offense that the government
   19   believes justifies forfeiture of their property.
   20         95.    Like the individual forfeiture notices, the USPV omnibus notice also
   21   does not identify the factual basis for the forfeiture action. Instead, the government
   22   appears to be proceeding based on the presumption that any amount of cash or
   23   precious metals in a safe deposit box is subject to forfeiture.
   24         96.    Both the USPV omnibus notice and the individual forfeiture notices
   25   sent to Jeni, Michael, and Travis are confusing and misleading in that they inform
   26   property owners that “[a] claim must be filed to contest the forfeiture.” The notice’s
   27   reference to a “claim” is naturally confusing given that the government already
   28   invited property owners to file a “claim” to their property through the FBI’s
                                                   17
            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1   website. The forfeiture notice letter does not explain the difference (if any) between
    2   this “claim” and the “claim” that property owners are required to file to avoid
    3   forfeiture. The government has not indicated whether it is treating those previous
    4   claims, which it asked property owners to submit, as a nullity, nor has it explained
    5   whether or how it will honor those already solicited and received claims.
    6         97.     Upon information and belief, other members of the putative class are
    7   in the same situation as Jeni, Michael, and Travis (with respect to his $63,000 in
    8   cash): The government has sent them notices about purported administrative
    9   forfeiture proceedings that fail to provide any specific legal and factual bases for
   10   the purported forfeiture, that are legally deficient, and that are confusing and
   11   misleading.
   12         98.     On information and belief, some other members of the putative class
   13   are in the same situation as Joseph and Travis (with respect to his gold): The
   14   government has listed their property as subject to forfeiture in the USPV omnibus
   15   notice, but the government has not provided those individuals with any kind of
   16   notice of the purported forfeiture proceeding.
   17         99.     Because Joseph has not received any notice of a forfeiture proceeding,
   18   he is unable to confirm whether the government is, in fact, holding his property for
   19   civil forfeiture.
   20         100. The government has Joseph’s contact information so as to provide him
   21   with individualized notice of any such possible forfeiture proceeding, given that
   22   Joseph submitted that information with his claim through the FBI’s website.
   23         101. Likewise, without individualized notice, Travis cannot confirm
   24   whether the government is in fact seeking to forfeit his gold.
   25         102. The government has Travis’s contact information and could easily
   26   provide him notice of the forfeiture of his gold, given that it has already provided
   27   him with notice of the forfeiture of his cash.
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1          103. In response to the forfeiture notice, Jeni and Michael submitted
    2   administrative claims to their property following the directions provided in the
    3   forfeiture notice. And, because the government’s forfeiture claim form directed
    4   them to submit documentary evidence in support of the claim, they attached various
    5   receipts and documents to support their claim to their property.
    6          104. Even if the government ultimately returns Jeni and Michael’s property,
    7   the government will retain the receipts and other documents that they submitted in
    8   support of their claim.
    9          105. The government has adopted a practice of deciding which USPV
   10   customer property to target for forfeiture in an arbitrary manner that fails to include
   11   any individualized determination of whether there is evidence the property in
   12   question is subject to forfeiture. Instead, the primary basis for the government’s
   13   decisions seems to come from a presumption that storing property over a certain
   14   threshold value in a safe deposit box (which is the point of the box) must make the
   15   property subject to forfeiture, even if the government does not know and cannot
   16   articulate what the precise basis for forfeiture is.
   17          106. But storing valuable property in a safe deposit box is not unusual or
   18   suspicious. After all, the purpose of a safe deposit box is to secure valuables from
   19   theft, fire, or other loss.
   20   The Government Continues to Hold Significant Amounts Of Property That Is
   21                 Not Subject To Any Purported Forfeiture Proceedings
   22          107. While the USPV omnibus notice indicates that the government seeks
   23   to forfeit hundreds of safe deposit boxes, that still leaves hundreds of other boxes
   24   that the government is not seeking to forfeit.
   25          108. For instance, the USPV omnibus notice indicates that the government
   26   does not intend to forfeit the boxes owned by Tyler Gothier and the Snitkos, and in
   27   fact the FBI has contacted both Tyler and the Snitkos to state that their property
   28   will eventually be returned.
                                                   19
            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1         109. Nonetheless, more than two months after the seizure, the government
    2   continues to hold the property seized from Tyler and the Snitkos, and the
    3   government has not identified any legal basis to retain their property.
    4         110. Moreover, even if the government eventually returns the property
    5   seized from Tyler and the Snitkos, the government will continue to retain records of
    6   that property that were generated during its unlawful search.
    7         111. At the same time, although the government sent a forfeiture notice for
    8   the silver contained in the box of Jeni Verdon-Pearsons and Michael Storc, the
    9   USPV omnibus notice indicates the government is not seeking to forfeit the $2,000
   10   in cash or the personal documents contained in their box.
   11         112. Nevertheless, the FBI continues to retain the $2,000 in cash and the
   12   personal documents seized from Jeni and Michael. The FBI has not identified any
   13   legal basis to retain that property.
   14         113. On information and belief, some other members of the putative class
   15   are in the same situation as Tyler Gothier and the Snitkos (and Jeni Verdon-
   16   Pearsons and Michael Storc with respect to their cash and personal documents):
   17   The government has not informed USPV’s attorneys that it intends to seek to forfeit
   18   their boxes, nor has it articulated any other legal basis to continue to retain their
   19   property.
   20         114. Regardless of whether the government has sent them notice of a
   21   purported administrative forfeiture or told USPV’s attorneys that it intends to
   22   forfeit their property, all members of the putative class are ultimately in the same
   23   situation: The government has not notified them of any specific legal and factual
   24   basis justifying the ongoing detention of their property.
   25                               INJURY TO PLAINTIFFS
   26         115. Defendants’ March 22, 2021 criminal search of named Plaintiffs’
   27   personal property and their continued seizure of that property constitutes an
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1   ongoing injury to not just to named Plaintiffs and putative class representatives, but
    2   to all USPV customers.
    3         116. Had Defendants simply secured the USPV facility and left the safe
    4   deposit boxes intact, Plaintiffs and other USPV customers would have easily been
    5   able to go in and reclaim that property. But the government opened up those boxes
    6   and subjected them to an unreasonable criminal search.
    7         117. Due to the government’s unreasonable criminal search, it currently
    8   retains records of the contents of all of the boxes at the USPV facility, regardless of
    9   whether the contents of those boxes have been returned to their owners or not. The
   10   government’s continued possession of those records provides it with a window into
   11   the contents of an ostensibly private space and constitutes an ongoing Fourth
   12   Amendment injury.
   13         118. In addition, the government today still retains much of that property—
   14   including the property of Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler
   15   Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May. The government’s
   16   retention of that property constitutes an additional Fourth Amendment injury.
   17         119. Because Defendants exceeded the scope of their warrant in their March
   18   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
   19   Plaintiffs Paul and Jennifer Snitko have been subjected to an unreasonable search
   20   and seizure that has deprived them of their jewelry, back-up hard drives, legal
   21   documents, Paul’s pilot flight log, and other personal effects they had stored in their
   22   USPV safe deposit box.
   23         120. Because Defendants exceeded the scope of their warrant in their
   24   March 22, 2021 criminal search and seizure of USPV customers’ safe deposit
   25   boxes, it now unreasonably possesses copies of personal documents and other
   26   records owned by Plaintiffs Paul and Jennifer Snitko. This deprivation constitutes
   27   an ongoing injury to Plaintiffs Paul and Jennifer Snitko.
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1           121. Because Defendants continue to retain personal property that USPV
    2   customers had secured in their safe deposit boxes absent any justification, Plaintiffs
    3   Paul and Jennifer Snitko continue to be deprived of their jewelry, back-up hard
    4   drives, legal documents, Paul’s pilot flight log, and other personal effects they had
    5   stored in their USPV safe deposit box. This deprivation constitutes an ongoing
    6   injury to Plaintiffs Paul and Jennifer Snitko.
    7           122. Because Defendants exceeded the scope of their warrant in their March
    8   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
    9   Plaintiff Joseph Ruiz has been subjected to an unreasonable search and seizure that
   10   has deprived him of the $57,000 in cash he deposited in his USPV safe deposit box.
   11           123. Because Defendants continue to retain personal property that USPV
   12   customers had secured in their safe deposit boxes absent any justification, Plaintiff
   13   Joseph Ruiz continues to be deprived of the $57,000 in cash he placed in his USPV
   14   safe deposit box. This deprivation constitutes an ongoing injury to Plaintiff Joseph
   15   Ruiz.
   16           124. Joseph relied on his funds in his USPV safe deposit box for living and
   17   medical expenses. After the government seized this money, Joseph has been unable
   18   to secure needed medical care or basic staples of life. The seizure has forced Joseph
   19   to eat the pile of provisions he had stored at the outset of the COVID-19 pandemic.
   20           125. Because Defendants exceeded the scope of their warrant in their March
   21   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
   22   Plaintiff Tyler Gothier has been subjected to an unreasonable search and seizure
   23   that has deprived him of the silver and other personal property he deposited in his
   24   USPV safe deposit box.
   25           126. Because Defendants exceeded the scope of their warrant in their March
   26   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes, it
   27   now unreasonably possesses copies of personal documents and other records owned
   28
                                                  22
            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1   by Plaintiff Tyler Gothier. This deprivation constitutes an ongoing injury to
    2   Plaintiff Tyler Gothier.
    3         127. Because Defendants continue to retain personal property that USPV
    4   customers had secured in their safe deposit boxes absent any justification, Plaintiff
    5   Tyler Gothier continues to be deprived of the silver and other personal property he
    6   deposited in his USPV safe deposit box. This deprivation constitutes an ongoing
    7   injury to Plaintiff Tyler Gothier.
    8         128. Because Defendants exceeded the scope of their warrant in their March
    9   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
   10   Plaintiffs Jeni Verdon-Pearsons and Michael Storc have been subjected to an
   11   unreasonable search and seizure that has deprived them of the silver, the
   12   approximately $2,000 of cash, and the personal documents that they deposited in
   13   their USPV safe deposit box.
   14         129. Because Defendants continue to retain personal property that USPV
   15   customers had secured in their safe deposit boxes absent any justification, Plaintiffs
   16   Jeni Verdon-Pearsons and Michael Storc continue to be deprived of the silver and
   17   approximately $2,000 in cash they deposited in their USPV safe deposit box. This
   18   deprivation constitutes an ongoing injury to Plaintiffs Jeni Verdon-Pearsons and
   19   Michael Storc.
   20         130. Because Defendants exceeded the scope of their warrant in their March
   21   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes, it
   22   now unreasonably possesses copies of personal documents and other records owned
   23   by Plaintiffs Jeni Verdon-Pearsons and Michael Storc. This deprivation constitutes
   24   an ongoing injury to Plaintiffs Jeni Verdon-Pearsons and Michael Storc.
   25         131. Because the government sent Jeni Verdon-Pearsons and Michael Storc
   26   an unlawful forfeiture notice, Jeni and Michael submitted a claim to avoid the
   27   forfeiture of their property and provided copies of various documents in support of
   28   their claim. The government will continue to retain those documents even if their
                                                 23
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    1   property is ultimately returned. That deprivation constitutes an ongoing injury to
    2   Plaintiffs Jeni Verdon-Pearsons and Michael Storc.
    3         132. Because Defendants exceeded the scope of their warrant in their March
    4   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
    5   Plaintiff Travis May has been subjected to an unreasonable search and seizure that
    6   has deprived him of the gold and approximately $63,000 in cash he deposited in his
    7   USPV safe deposit box.
    8         133. Because Defendants continue to retain personal property that USPV
    9   customers had secured in their safe deposit boxes absent any justification, Plaintiff
   10   Travis May continues to be deprived of the gold and $63,000 in cash he deposited
   11   in his USPV safe deposit box. This deprivation constitutes an ongoing injury to
   12   Plaintiff Travis May.
   13         134. Because the government sent Travis May an unlawful forfeiture
   14   notice, Travis risks the automatic forfeiture of his property if he does not submit a
   15   claim to that property. That claim must be submitted under oath, subject to penalty
   16   of perjury. This deprivation constitutes an ongoing injury to Plaintiff Travis May.
   17         135. Plaintiffs do not want to give Defendants any additional information as
   18   a condition of retrieving their property.
   19         136. Other members of the putative class are also injured by Defendants’
   20   violation of their Fourth and Fifth Amendment rights. Every putative class member
   21   has had property taken as a result of Defendants’ unconstitutional March 22, 2021
   22   search and seizure of USPV customers’ safe deposit boxes and is trying to retrieve
   23   that property. And because Defendants continue to retain that property, along with
   24   copies of records and documents made during Defendants’ criminal search, every
   25   putative class member is suffering an ongoing injury.
   26                           CLASS ACTION ALLEGATIONS
   27         137. Plaintiffs re-allege and incorporate by reference each and every
   28   allegation set forth in ¶¶ 1 through 136 above.
                                                    24
            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1          138. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
    2   Verdon-Pearsons, Michael Storc, and Travis May seek to maintain this action on
    3   behalf of themselves and all others similarly situated under Rule 23(b)(2) of the
    4   Federal Rules of Civil Procedure. A class action is superior to other available
    5   methods for the fair and efficient adjudication of this controversy.
    6          139. Plaintiffs propose the following class definition: “All renters of U.S.
    7   Private Vaults safe deposit boxes who (a) had property within their safe-deposit box
    8   seized by the federal government on or around March 22, 2021; and (b) have
    9   identified themselves to the FBI since the seizure.”
   10          140. Within that broader class, Plaintiffs propose two subclasses. First,
   11   Plaintiffs propose a subclass of individuals who meet all the requirements for
   12   membership in the proposed class, whose property is still in the possession of the
   13   federal government, but who have not received notice that the government has
   14   purported to commence an administrative forfeiture action with respect to their
   15   property (the “No Notice Subclass”). This subclass would be defined as: “All
   16   renters of U.S. Private Vaults safe deposit boxes who (a) had property within their
   17   safe-deposit box seized by the federal government on or around March 22, 2021;
   18   (b) have identified themselves to the FBI since the seizure; (c) have not been
   19   notified that their safe deposit boxes are the subject of a currently ongoing
   20   administrative or judicial forfeiture proceeding; and (d) whose property is still in
   21   the possession of the federal government.”1
   22          141. The No Notice Subclass includes Paul and Jennifer Snitko, Tyler
   23   Gothier, and Joseph Ruiz.
   24
                1 Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier filed a Motion for
   25
        Preliminary Injunction on May 27, 2021 (ECF Nos. 10–17), which they re-filed on June 3, 2021
   26   (ECF Nos. 26 to 26-17). That motion also seeks, to the extent the Court deems it necessary to
        provide the requested injunctive relief, certification of a provisional class. ECF No. 26-1 at 17–
   27   22. That proposed provisional class is identical to the No Notice Subclass proposed here. Because
        the class definition has not changed, the pending motion for a preliminary injection is not mooted
   28   by the filing of this Amended Complaint. JBF Interlude 2009 Ltd - Israel v. Quibi Holdings, LLC,
        No. 20-cv-2299, 2020 WL 3963863, at *6 (C.D. Cal. July 13, 2020).
                                                       25
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    1         142. Second, Plaintiffs propose a subclass of individuals who meet all the
    2   requirements for membership in the proposed class, whose property is still in the
    3   possession of the federal government, and whose property the government has
    4   purported to commence an administrative forfeiture action against (the “Forfeiture
    5   Subclass”). This subclass would be defined as: “All renters of U.S. Private Vaults
    6   safe deposit boxes who (a) had property within their safe-deposit box seized by the
    7   federal government on or around March 22, 2021; (b) have identified themselves to
    8   the FBI since the seizure; (c) whose property is now the subject of a purported
    9   administrative forfeiture proceeding; and (d) whose property is still in the
   10   possession of the federal government.”
   11         143. The Forfeiture Subclass includes Jeni Verdon-Pearsons, Michael Storc,
   12   Travis May, and Joseph Ruiz.
   13         144. Joseph Ruiz is a member of both proposed subclasses because (a) his
   14   property is subject to a purported administrative forfeiture proceeding (putting him
   15   in the Forfeiture Subclass) and (b) he has not received any notice of that fact (also
   16   putting him in the No Notice Subclass).
   17         145. This action meets all the Rule 23(a) prerequisites for maintaining a
   18   class action.
   19         146. Numerosity under Rule 23(a)(1): The putative class and subclasses
   20   are so numerous that joinder of all members is impracticable.
   21                   a. The Proposed Class:
   22                        i.   At least 800 people rented safe deposit boxes from USPV,
   23                             and the government seized all the personal property from
   24                             those boxes in March 2021.
   25                       ii.   On information and belief, a significant portion of those box
   26                             holders have filed claims for their property, such that the
   27                             total number of putative class members would be
   28                             impracticable to join within a single action.
                                                    26
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    1              b. The No Notice Subclass:
    2                    i.   The USPV omnibus notice indicates that the government is
    3                         seeking to forfeit the contents of over 400 boxes and thus, by
    4                         implication, indicates the government is not seeking to forfeit
    5                         the contents of hundreds of boxes as well.
    6                   ii.   An June 9, 2021 article in the Los Angeles Times entitled
    7                         “FBI wants to keep cash, gold, jewels from Beverly Hills
    8                         raid. Is it an abuse of power?” reports that the government
    9                         has yet to return the property of at least 175 USPV safe-
   10                         deposit-box renters from whom it is not seeking forfeiture,
   11                         such that the total number of members of the proposed No
   12                         Notice Subclass would likewise be impracticable to join
   13                         within a single action.
   14                  iii.   In addition, on information and belief, there are additional
   15                         individuals who (like Joseph Ruiz) are listed in the USPV
   16                         omnibus notice and yet have not received notice of a
   17                         forfeiture action. These individuals are also members of the
   18                         proposed No Notice Subclass.
   19              c. The Forfeiture Subclass:
   20                    i.   The USPV omnibus notice indicates that the government is
   21                         seeking to forfeit the contents of over 400 boxes, including
   22                         the contents of Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons,
   23                         Michael Storc, and Travis May’s safe deposit boxes.
   24                   ii.   On information and belief, a significant portion of those box
   25                         holders have identified themselves to the FBI either by filing
   26                         claims for their property through the FBI website (like Travis
   27                         May, Jeni Verdon-Pearsons, and Michael Storc) or by filing
   28                         claims in response to the forfeiture notice (like Jeni Verdon-
                                                27
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    1                          Pearsons and Michael Storc).
    2                   iii.   The total number of members of the proposed Forfeiture
    3                          Subclass would likewise be impracticable to join within a
    4                          single action.
    5         147. Commonality under Rule 23(a)(2): This action presents questions of
    6   law and fact common to the putative class and subclasses, resolution of which will
    7   not require individualized determinations of the circumstances of any particular
    8   plaintiff. Common questions include but are not limited to:
    9               a. The Proposed Class:
   10                     i.   For the class as a whole, did the government’s seizure of all
   11                          USPV customers’ personal property and subsequent criminal
   12                          search of that property exceed the scope of the warrant and
   13                          violate the Fourth Amendment?
   14                    ii.   For the class as a whole, does the government’s retention
   15                          and/or use of copies of documents found in USPV
   16                          customers’ safety-deposit boxes violate the Fourth
   17                          Amendment?
   18               b. The No Notice Subclass:
   19                     i.   For the proposed No Notice Subclass, does the government’s
   20                          continued retention of USPV customers’ property without
   21                          providing customers with any notice regarding the basis of
   22                          that continued retention, or any meaningful process by which
   23                          they may promptly secure the return of that property, violate
   24                          the Fifth Amendment?
   25                    ii.   For the proposed No Notice Subclass, if the government is
   26                          unable to state a valid legally independent justification for
   27                          the retention of the property, does the continued retention of
   28                          the property violate the Fourth Amendment?
                                                  28
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    1                   iii.   For the proposed No Notice Subclass, does the government’s
    2                          requirement that property owners submit to an investigation
    3                          and demonstrate the legality of their property and their
    4                          ownership of it to secure its return violate the Fifth
    5                          Amendment?
    6                c. The Forfeiture Subclass:
    7                     i.   For the proposed Forfeiture Subclass, does the government’s
    8                          practice of continuing to retain those USPV customers’
    9                          property, and targeting that property for forfeiture in an
   10                          arbitrary manner that fails to make any individualized
   11                          determination of whether there is probable cause that the
   12                          property in question is subject to forfeiture, violate the
   13                          Fourth Amendment?
   14                    ii.   For the proposed Forfeiture Subclass, does the government’s
   15                          practice of continuing to retain those USPV customers’
   16                          property, and targeting that property for forfeiture without
   17                          providing the statutory and factual bases for doing so, violate
   18                          the Fifth Amendment?
   19                   iii.   For the proposed Forfeiture Subclass, do the government’s
   20                          defective notices purporting to commence administrative
   21                          forfeiture proceedings violate the Fifth Amendment?
   22                   iv.    For the proposed Forfeiture Subclass, does the government’s
   23                          requirement that property owners demonstrate the legality of
   24                          their property and their ownership of it to secure its return
   25                          violate the Fifth Amendment?
   26         148. Typicality under Rule 23(a)(3): Plaintiffs’ claims are typical of the
   27   claims of the putative class and subclasses.
   28                a. The Proposed Class:
                                                  29
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    1                   i.   Plaintiffs’ claims and the putative class members’ claims
    2                        arise out of the same course of conduct by Defendants, are
    3                        based on the same legal theories, and involve the same
    4                        harms.
    5                  ii.   Plaintiffs seek the same class-wide declaratory and injunctive
    6                        relief for both themselves and other members of the putative
    7                        class.
    8              b. The No Notice Subclass:
    9                   i.   Plaintiffs Paul Snitko, Jennifer Snitko, Joseph Ruiz, and
   10                        Tyler Gothier’s claims and the putative No Notice Subclass
   11                        members’ claims arise out of the same course of conduct by
   12                        Defendants, are based on the same legal theories, and involve
   13                        the same harms.
   14                  ii.   Plaintiffs Paul Snitko, Jennifer Snitko, Joseph Ruiz, and
   15                        Tyler Gothier seek the same class-wide declaratory and
   16                        injunctive relief for both themselves and other members of
   17                        the putative No Notice Subclass.
   18              c. The Forfeiture Subclass:
   19                   i.   Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc,
   20                        and Travis May’s claims and the putative Forfeiture Subclass
   21                        members’ claims arise out of the same course of conduct by
   22                        Defendants, are based on the same legal theories, and involve
   23                        the same harms.
   24                  ii.   Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc,
   25                        and Travis May seek the same class-wide declaratory and
   26                        injunctive relief for both themselves and other members of
   27                        the putative Forfeiture Subclass.
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                                               30
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    1         149. Adequacy of representation under Rule 23(a)(4): The interests of the
    2   putative class and subclasses are fairly and adequately protected by Plaintiffs and
    3   their attorneys.
    4                a. The Proposed Class:
    5                      i.   Plaintiffs adequately represent the putative class because
    6                           their interests are aligned and there are no conflicts of
    7                           interest between the Plaintiffs and members of the putative
    8                           class. Like other members of the class, their property was
    9                           searched and seized in violation of the Fourth Amendment,
   10                           and the government continues to retain records generated as a
   11                           result of that search and seizure.
   12                b. The No Notice Subclass:
   13                      i.   Plaintiffs Paul Snitko, Jennifer Snitko, Joseph Ruiz, and
   14                           Tyler Gothier adequately represent the putative No Notice
   15                           Subclass because their interests are aligned and there are no
   16                           conflicts of interest between these Plaintiffs and members of
   17                           the No Notice Subclass. Like other members of the proposed
   18                           subclass, they have received no notice of the basis for the
   19                           ongoing seizure of their property.
   20                c. The Forfeiture Subclass:
   21                      i.   Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc,
   22                           and Travis May adequately represent the putative Forfeiture
   23                           subclass because their interests are aligned and there are no
   24                           conflicts of interest between these Plaintiffs and members of
   25                           the Forfeiture Subclass. Like other members of the proposed
   26                           subclass, they have been targeted for civil forfeiture by
   27                           notices that do not provide notice of the legal or factual basis
   28                           for the forfeiture action.
                                                   31
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    1               d. Plaintiffs and the putative class members are ably represented pro
    2                  bono by the Institute for Justice (“the Institute”) and local counsel
    3                  Nilay Vora. The Institute is a nonprofit, public-interest law firm
    4                  that, since its founding in 1991, has litigated constitutional issues
    5                  nationwide. The Institute has successfully litigated numerous
    6                  federal class actions, including against Philadelphia (Sourovelis v.
    7                  City of Philadelphia, No. CV 14-4687, 2021 WL 344598, at *1
    8                  (E.D. Pa. Jan. 28, 2021) (appointing the Institute for Justice as
    9                  Class Counsel and approving federal consent decree in challenge to
   10                  civil forfeiture procedures)), New York City (Cho v. City of New
   11                  York, No. 1:16-cv-07961, Dkt # 111 (S.D.N.Y. Oct. 2, 2020)
   12                  (approving settlement of a putative class action, under which New
   13                  York City agreed not to enforce agreements extracted through
   14                  coercive property seizures)), and Pagedale, Missouri (Whitner v.
   15                  City of Pagedale, No. 4:15-cv-01655, Dkt. #116 (E.D. Mo. May 21,
   16                  2018) (approving federal consent decree prohibiting abusive
   17                  ticketing practices)). Furthermore, the Institute for Justice has
   18                  particular expertise litigating issues involving both property rights
   19                  and Fourth Amendment violations. Meanwhile, local counsel is a
   20                  recognized trial and appellate lawyer with experience litigating
   21                  civil-rights cases.
   22         150. This action also meets the requirements of, and is brought in
   23   accordance with, Rule 23(b)(2) of the Federal Rules of Civil Procedure.
   24               a. The Proposed Class:
   25                    i.   Defendants have acted, or refused to act, on grounds
   26                         generally applicable to the putative class. Specifically, on
   27                         March 22, 2021, the government conducted a search and
   28                         seizure of each class member’s safe deposit box at USPV.
                                                 32
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    1                    ii.   Final injunctive and declaratory relief is appropriate with
    2                          respect to all of the members of the class.
    3               b. The No Notice Subclass:
    4                     i.   Defendants also have acted, or refuse to act, on grounds
    5                          generally applicable to the putative No Notice Subclass.
    6                          Specifically, the government has failed to explain to any
    7                          class member why it continues to hold their property and has
    8                          failed to provide any class member with a prompt,
    9                          meaningful process to secure the return of the property.
   10                    ii.   Final injunctive and declaratory relief is appropriate with
   11                          respect to all of the members of the No Notice Subclass.
   12               c. The Forfeiture Subclass:
   13                     i.   Defendants also have acted, or refuse to act, on grounds
   14                          generally applicable to the putative Forfeiture Subclass.
   15                          Specifically, the government’s practice of issuing forfeiture
   16                          notices without any individualized determination of whether
   17                          there is probable cause that the property in question is subject
   18                          to forfeiture applies to each member of the Forfeiture
   19                          Subclass. Additionally, both the government’s omnibus
   20                          notice and the notices sent to subclass members are
   21                          materially identical in that they purport to commence
   22                          administrative forfeiture proceedings while failing to identify
   23                          the legal and factual bases for the forfeiture.
   24                    ii.   Final injunctive and declaratory relief is appropriate with
   25                          respect to all of the members of the Forfeiture Subclass.
   26         151. Finally, insofar as a Rule 23(b)(2) class must be ascertainable, this
   27   action satisfies that requirement. The membership of the putative class and
   28   subclasses are ascertainable because the FBI maintains records of the identity of
                                                  33
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    1   USPV customers who have filed a claim for their property, as well as records of
    2   whether those individuals have been notified of a civil forfeiture proceeding with
    3   respect to their property. Similarly, while notice is not required for class actions
    4   brought under Rule 23(b)(2), the FBI’s records contain contact information for all
    5   members of the proposed class and subclasses, such that notice could easily be
    6   provided should the Court deem it appropriate.
    7                                     CLASS CLAIMS
    8                     COUNT I: On Behalf Of The Proposed Class
    9       Defendants’ Criminal Search of USPV Customers’ Personal Property
   10                            Violates the Fourth Amendment
   11         152. Plaintiffs re-allege and incorporate by reference each and every
   12   allegation set forth in ¶¶ 1 through 151 above.
   13         153. This Count seeks to vindicate the Fourth Amendment right of every
   14   member of the Proposed Class to be free from unconstitutional searches and
   15   seizures under the Fourth Amendment.
   16         154. The U.S. Constitution’s Fourth Amendment protects “[t]he right of the
   17   people to be secure in their persons, houses, papers, and effects, against
   18   unreasonable searches and seizures.” It further provides that “no Warrants shall
   19   issue, but upon probable cause, supported by Oath or affirmation, and particularly
   20   describing the place to be searched, and the persons or things to be seized.”
   21         155. The Fourth Amendment protects USPV customers’ personal property
   22   from unreasonable searches and seizures.
   23         156. The Fourth Amendment protects USPV customers’ safe deposit boxes
   24   from unreasonable searches and seizures.
   25         157. The seizure warrant issued authorized the government to seize USPV’s
   26   business property, but did not authorize any criminal search or seizure of USPV
   27   customers’ personal property.
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                                                  34
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    1         158. During Defendants’ March 22, 2021 raid on USPV, the government
    2   seized USPV customers’ personal property—the contents of their safe deposit
    3   boxes—without their permission.
    4         159. On or around March 22, 2021, the government seized USPV
    5   customers’ personal property—the contents of their safe deposit boxes—without
    6   individualized suspicion.
    7         160. Defendants had no warrant, or other judicial authorization, authorizing
    8   a criminal search or seizure of USPV customers’ personal property on or around
    9   March 22, 2021.
   10         161. Although the warrant authorized an inventory search of the contents of
   11   the USPV safe deposit boxes, that aspect of the warrant violated the Fourth
   12   Amendment insofar as it allowed a search of the boxes without individualized
   13   probable cause.
   14         162. The warrant’s authorization to conduct a search of the boxes cannot be
   15   justified under the inventory search doctrine, as the best way to prevent theft and
   16   loss of the contents of the boxes would have been to leave those contents locked
   17   inside the safe deposit boxes. The government did not protect those contents by
   18   removing them from a locked box, and in fact exposed them to a greater risk of
   19   theft and loss.
   20         163. In addition, the government far exceeded the scope of the search
   21   authorized by the warrant. The warrant authorized only a limited inventory search
   22   of the contents of the USPV safe deposit boxes in order to reunite customers with
   23   their property, but the government searched USPV customers’ personal property
   24   even after finding box holders’ identifying information.
   25         164. The government further exceeded the bounds of any permissible
   26   inventory search by engaging in conduct that was clearly motivated by an
   27   investigative purpose. Among other things, it deployed drug dogs on USPV
   28   customers’ currency and opened USPV customers’ envelopes.
                                                 35
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    1         165. The government conducted this investigative search even though the
    2   warrant specifically instructed the government not to conduct a criminal search of
    3   customers’ property.
    4         166. The government’s March 22, 2021 criminal search and seizure of the
    5   personal property customers deposited in USPV safe deposit boxes was therefore
    6   unreasonable and in violation of the Fourth Amendment.
    7         167. Any evidence or records that Defendants obtained through the
    8   unauthorized criminal search of the contents of USPV customers’ safe deposit
    9   boxes were obtained in violation of the Fourth Amendment as the “fruit of the
   10   poisonous tree.”
   11         168. Accordingly, named Plaintiffs and putative class representatives ask
   12   the Court to declare that Defendants’ actions in seizing all USPV customers’
   13   property and subjecting that property to a criminal search violated the Fourth
   14   Amendment.
   15         169. Similarly, named Plaintiffs and putative class representatives ask the
   16   Court to enter judgment declaring that due to Defendants’ Fourth Amendment
   17   violation in subjecting Plaintiffs’ property to a criminal search, Defendants’
   18   retention and/or use of any records or evidence obtained through that search, other
   19   than for the limited purpose of reuniting them with their property, violates the
   20   Fourth Amendment.
   21         170. To that end, named Plaintiffs and putative class representatives request
   22   that this Court order that all records Defendants created during their criminal search
   23   of USPV customers’ security deposit boxes, other than those records necessary for
   24   reuniting property owners with their property, be destroyed and/or returned to their
   25   owners.
   26         171. As a direct and proximate result of Defendants’ March 22, 2021
   27   unreasonable search and seizure of USPV customers’ personal property, named
   28   Plaintiffs and other members of the putative class have suffered irreparable injury
                                                 36
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    1   to their constitutional rights, including but not limited to the unjust deprivation of
    2   their property. Declaratory and injunctive relief is necessary to remedy this injury.
    3              COUNT II: On Behalf of the Proposed No Notice Subclass
    4     Defendants’ Ongoing Retention of Property Without Stating a Valid Legal
    5           Basis for Its Continued Seizure Violates the Fourth Amendment
    6         172. Plaintiffs re-allege and incorporate by reference each and every
    7   allegation set forth in ¶¶ 1 through 151 above.
    8         173. This count seeks to vindicate the Fourth Amendment right of members
    9   of the proposed No Notice subclass to have their property returned to the extent that
   10   the government is unable to articulate a valid constitutional basis to continue the
   11   seizure of that property.
   12         174. Just as the government’s initial seizure of property must withstand
   13   Fourth Amendment scrutiny, so does the government’s ongoing retention of seized
   14   property. See, e.g., Brewster v. Beck, 859 F.3d 1194, 1197 (9th Cir. 2017).
   15         175. Even if the government’s actions in seizing Plaintiffs’ property and
   16   subjecting it to a criminal search passed Fourth Amendment scrutiny, Defendants
   17   must separately justify any ongoing retention of seized property once its owner has
   18   requested its return.
   19         176. Named Plaintiffs and putative No Notice Subclass representatives Paul
   20   and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier are all seeking return of their
   21   property and in response to the FBI’s solicitation of claims following the March 22,
   22   2021 seizure have filed claims with the FBI to request its return.
   23         177. But in response to seeking their property’s return, the government has
   24   not provided Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier
   25   with any justification for the ongoing retention of their seized property.
   26         178. The government must either state a (valid) basis for retaining USPV
   27   customers’ property or else return the property to its owners.
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    1         179. The government’s ongoing retention of property that it seized from
    2   USPV customers’ safe deposit boxes, absent any valid basis justifying that ongoing
    3   retention, is an unreasonable seizure that violates the Fourth Amendment.
    4         180. Accordingly, named Plaintiffs and putative No Notice Subclass
    5   representatives Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier ask the
    6   Court to enter judgment declaring that Defendants’ ongoing retention of property
    7   seized from USPV customers’ safe deposit boxes—without stating a valid legal
    8   basis for the continued seizure of that property—violates the Fourth Amendment.
    9         181. As a direct and proximate result of ongoing seizure of USPV
   10   customers’ personal property, named Plaintiffs and putative No Notice Subclass
   11   members Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier, along with all
   12   members of the putative subclass, have suffered irreparable injury to their
   13   constitutional rights, including but not limited to the unjust deprivation of their
   14   property. Declaratory and injunctive relief is necessary to remedy this injury.
   15   Without appropriate declaratory and injunctive relief, this injury will continue.
   16             COUNT III: On Behalf of the Proposed Forfeiture Subclass
   17    Defendants’ Ongoing Retention of Property Without Determining Whether
   18       There Is Individualized Probable Cause that the Property Is Subject to
   19                      Forfeiture Violates the Fourth Amendment
   20         182. Plaintiffs re-allege and incorporate by reference each and every
   21   allegation set forth in ¶¶ 1 through 151 above.
   22         183. This count seeks to vindicate the Fourth Amendment right of the
   23   proposed Forfeiture Subclass to have the government make an individualized
   24   probable cause determination before subjecting them to civil forfeiture proceedings.
   25         184. To seize property for the purpose of forfeiture, the Fourth Amendment
   26   and forfeiture statutes require either that the government has a warrant supported by
   27   probable cause or that there is an exception to the warrant requirement combined
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    1   with individualized probable cause to believe the property is subject to forfeiture.
    2   See, e.g., Gete v. INS, 121 F.3d 1285, 1295 (9th Cir. 1997); 18 U.S.C. § 981(b)(2).
    3         185. Just as the government’s initial seizure of property must withstand
    4   Fourth Amendment scrutiny, so must the government’s ongoing retention of seized
    5   property. See, e.g., Brewster v. Beck, 859 F.3d 1194, 1197 (9th Cir. 2017).
    6         186. The government’s ongoing retention of seized property for the purpose
    7   of commencing forfeiture proceedings must at a minimum be supported by
    8   probable cause to believe that the property is subject to forfeiture under a specific
    9   forfeiture statute.
   10         187. Named Plaintiffs and putative Forfeiture Subclass representatives
   11   Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May are all seeking
   12   the return of their property and, in response to the FBI’s solicitation of claims
   13   following the March 22, 2021 seizure, have filed claims with the FBI through the
   14   FBI’s website to request its return.
   15         188. But in response to seeking their property’s return, the government has
   16   not provided Plaintiffs Joseph, Jeni, Michael, and Travis with any justification for
   17   the ongoing retention of their seized property.
   18         189. Instead, the government sent deficient forfeiture notices to Jeni,
   19   Michael, and Travis that purported to commence administrative forfeiture
   20   proceedings against the silver (but not the cash) that Jeni and Michael stored in
   21   their box and the cash (but not the gold) that Travis stored in his box.
   22         190. The forfeiture notices that the government sent to Jeni, Michael, and
   23   Travis, however, do not state any legal or factual bases for seeking to forfeit their
   24   property, and thus do not disclose any basis, valid or otherwise, for continuing to
   25   retain their property.
   26         191. As to Plaintiff Joseph Ruiz, the government has failed to provide him
   27   with any individualized notice despite the fact that his property is listed on the
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    1   government’s omnibus forfeiture notice and Joseph previously provided his contact
    2   information to the FBI.
    3         192. As a result, the government has not identified for Jeni, Michael,
    4   Travis, or Joseph the specific legal or factual basis to support a determination that
    5   the government would have probable cause to forfeit their property. On information
    6   and belief, that failure to act is common to the putative Forfeiture Subclass.
    7         193. On information and belief, the government has failed to conduct any
    8   individualized determination of whether there is probable cause that Plaintiffs
    9   Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May’s property is
   10   subject to forfeiture under any specific forfeiture statute. On information and belief,
   11   this failure to act is common to the putative Forfeiture Subclass.
   12         194. On information and belief, the government has presumed that storing
   13   property over a certain threshold value in a safe deposit box means that the property
   14   must have been involved in illegal activity.
   15         195. The presumption that property over a certain threshold value in a safe
   16   deposit box must have been involved in illegal activity is not a valid basis for
   17   retaining USPV customers’ property. A valid basis requires, at a minimum,
   18   invocation of a specific forfeiture statute and evidence that the property is involved
   19   in activity implicating that statute.
   20         196. The arbitrary and standardless manner in which the government has
   21   determined which property to continue to detain and to seek to forfeit fails to apply
   22   constitutionally mandated standards for determining whether probable cause in fact
   23   exists.
   24         197. The government’s ongoing retention of property that it seized from
   25   USPV customers’ safe deposit boxes, absent individualized probable cause that the
   26   property is subject to forfeiture, is an unreasonable seizure that violates the Fourth
   27   Amendment.
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    1         198. Accordingly, named Plaintiffs and putative Forfeiture Subclass
    2   representatives Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May
    3   ask the Court to enter judgment declaring that Defendants’ ongoing retention of
    4   property seized from USPV customers’ safe deposit boxes—without individualized
    5   determinations that there is probable cause that each property is subject to forfeiture
    6   and without stating valid, individualized legal and factual bases for the continued
    7   seizure of that property—violates the Fourth Amendment.
    8         199. As a direct and proximate result of ongoing seizure of USPV
    9   customers’ personal property, named Plaintiffs and putative Forfeiture Subclass
   10   members Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May,
   11   along with all members of the putative subclass, have suffered irreparable injury to
   12   their constitutional rights, including but not limited to the unjust deprivation of their
   13   property. Declaratory and injunctive relief is necessary to remedy this injury.
   14   Without appropriate declaratory and injunctive relief, this injury will continue.
   15              COUNT IV: On Behalf of the Proposed No Notice Subclass
   16   Defendants’ Ongoing Retention of Property Without Providing Notice and an
   17               Opportunity to be Heard Violates the Fifth Amendment
   18         200. Plaintiffs re-allege and incorporate by reference each and every
   19   allegation set forth in ¶¶ 1 through 151 above.
   20         201. This count seeks to vindicate the Fifth Amendment right of the No
   21   Notice subclass to notice and an opportunity to be heard with respect to the basis
   22   for the ongoing seizure of their property.
   23         202. Under the Due Process Clause of the U.S. Constitution’s Fifth
   24   Amendment, the federal government must provide owners of property it has seized
   25   with notice of the government’s basis for seizing that property, as well as a prompt
   26   and meaningful opportunity to challenge both the government’s initial seizure and
   27   its ongoing detention of that property.
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                                                   41
            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1         203. The federal government has failed to tell Plaintiffs Paul and Jennifer
    2   Snitko, Joseph Ruiz, and Tyler Gothier why it is continuing to retain their seized
    3   property. On information and belief, that failure to act is common to the putative
    4   No Notice Subclass.
    5         204. The government’s failure to provide the Snitkos, Tyler Gothier, Joseph
    6   Ruiz, and other members of the putative No Notice Subclass with notice of the
    7   basis for the ongoing detention of their property violates their due process right to
    8   notice of the basis for the deprivation of their property rights.
    9         205. The government’s failure to articulate to the Snitkos, Tyler Gothier,
   10   Joseph Ruiz, and other members of the putative No Notice Subclass any
   11   meaningful and prompt means by which they can obtain a hearing to secure the
   12   return of their property violates their due process right to a prompt opportunity to
   13   be heard with respect to the deprivation of their property rights.
   14         206. Accordingly, named Plaintiffs and putative No Notice Subclass
   15   representatives Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier ask the
   16   Court to enter judgment declaring that Defendants’ ongoing retention of property
   17   seized from their safe deposit boxes without notice or a prompt post-seizure
   18   opportunity to be heard violates the Due Process guarantees of the Fifth
   19   Amendment.
   20         207. As a direct and proximate result of Defendants’ failure to provide
   21   USPV customers notice as to the government’s basis for seizing customers’
   22   property and a prompt means by which customers may obtain a hearing to secure
   23   their property’s return, named Plaintiffs and putative No Notice Subclass
   24   representatives Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier, as well as
   25   all members of the putative subclass, have suffered irreparable injury to their
   26   constitutional rights, including but not limited to the unjust deprivation of their
   27   property. Declaratory and injunctive relief is necessary to remedy this injury.
   28   Without appropriate declaratory and injunctive relief, this injury will continue.
                                                   42
            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1              COUNT V: On Behalf of the Proposed Forfeiture Subclass
    2   Defendants’ Ongoing Retention of Property Without Providing Notice and an
    3               Opportunity to be Heard Violates the Fifth Amendment
    4         208. Plaintiffs re-allege and incorporate by reference each and every
    5   allegation set forth in ¶¶ 1 through 151 above.
    6         209. This count seeks to vindicate the Fifth Amendment right of the
    7   Forfeiture Subclass to a forfeiture notice that informs them of the factual and legal
    8   basis for the seizure of their property and that provides them with a prompt
    9   opportunity to challenge the basis for the seizure.
   10         210. Under the Due Process Clause of the U.S. Constitution’s Fifth
   11   Amendment, the federal government must provide owners of property it has seized
   12   with notice of the government’s basis for seizing that property, as well as a prompt
   13   and meaningful opportunity to challenge both the government’s initial seizure and
   14   its ongoing retention of that property.
   15         211. The government has failed to tell Plaintiffs Joseph Ruiz, Jeni Verdon-
   16   Pearsons, Michael Storc, and Travis May why it is seeking to forfeit their seized
   17   property, and, on information and belief, that failure to act is common to the
   18   putative Forfeiture Subclass.
   19         212. The government sent Jeni, Michael, and Travis notices that purported
   20   to commence administrative forfeiture proceedings against the silver that Jeni and
   21   Michael stored in their safe deposit box and the cash that Travis stored in his safe
   22   deposit box. The forfeiture notices, however, failed to disclose any legal or factual
   23   bases for the continued seizure and forfeiture of their property, and were
   24   administratively and constitutionally deficient. On information and belief, these acts
   25   and failures to act are common to the putative Forfeiture Subclass.
   26         213. Assuming they were validly commenced, the government’s civil
   27   forfeiture proceedings do not provide Plaintiffs Jeni, Michael, and Travis a
   28   meaningful and fair opportunity to be heard. In the absence of notice of the legal
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    1   and factual bases for the seizure and forfeiture, they cannot effectively respond to
    2   the forfeiture proceeding. Moreover, the administrative proceeding presumes the
    3   property is forfeitable, prohibits consideration of whether the evidence is sufficient
    4   to support forfeiture, places the burden on the petitioner not only to prove their
    5   ownership interest in the property but also to establish the source of funds used to
    6   purchase those assets, fails to provide meaningful criteria establishing whether the
    7   decisionmaker should grant or deny the petition, and fails to provide effective
    8   avenues for review of erroneous decisions.
    9         214. The government’s failure to provide Plaintiffs Jeni Verdon-Pearsons,
   10   Michael Storc, and Travis May, and other members of the putative Forfeiture
   11   Subclass with notice of the legal and factual bases for the ongoing detention of their
   12   property and the basis for seeking forfeiture of their property violates their due
   13   process right to notice of the basis for the deprivation of their property rights.
   14         215. The government’s failure to provide Plaintiff Joseph Ruiz with any
   15   individualized notice regarding the legal and factual bases for the ongoing detention
   16   of his property and the basis for seeking forfeiture of his property violates his due
   17   process right to notice of the basis for the deprivation of his property rights.
   18         216. The government’s failure to provide Plaintiff Travis May with any
   19   individualized notice regarding the legal and factual bases for the ongoing detention
   20   and attempted forfeiture of his gold violates his due process right to notice of the
   21   basis for the deprivation of his property rights.
   22         217. The government’s failure to provide Plaintiffs Joseph, Jeni, Michael,
   23   and Travis and other members of the putative Forfeiture Subclass any meaningful,
   24   prompt, and fair means by which they can secure the return of their property
   25   violates their due process right to a prompt opportunity to be heard with respect to
   26   the deprivation of their property rights.
   27         218. Accordingly, Plaintiffs and putative Forfeiture Subclass
   28   representatives Joseph, Jeni, Michael, and Travis ask the Court to enter judgment
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    1   declaring that Defendants’ ongoing retention of property seized from their safe
    2   deposit boxes without constitutionally adequate notice or a prompt, meaningful, and
    3   fair post-seizure opportunity to be heard violates the Due Process guarantees of the
    4   Fifth Amendment.
    5         219. As a direct and proximate result of Defendants’ failure to provide
    6   USPV customers notice as to the government’s basis for seizing customers’
    7   property and a prompt means by which customers may secure their property’s
    8   return, named Plaintiffs and putative subclass representatives, as well as all
    9   members of the putative subclass, have suffered irreparable injury to their
   10   constitutional rights, including but not limited to the unjust deprivation of their
   11   property. Declaratory and injunctive relief is necessary to remedy this injury.
   12   Without appropriate declaratory and injunctive relief, this injury will continue.
   13    COUNT VI: On Behalf of the Proposed No Notice and Forfeiture Subclasses
   14      Defendants’ Coercive Use of Unlawfully Seized Property to Force USPV
   15        Customers to Submit to Investigation Violates the Fifth Amendment
   16         220. Plaintiffs re-allege and incorporate by reference each and every
   17   allegation set forth in ¶¶ 1 through 151 above.
   18         221. This count seeks to vindicate the Fifth Amendment right of both the
   19   No Notice and the Forfeiture subclasses to recover their property without having to
   20   provide information to prove their own innocence.
   21         222. During the time that USPV customers’ property has been in
   22   Defendants’ custody and control, the government has refused to return any seized
   23   items until USPV customers come forward and identify themselves to the FBI.
   24         223. But according to the FBI, once a USPV customer identifies himself or
   25   herself to the FBI, the FBI will not immediately release that customer’s property.
   26   Instead, it has indicated that it will conduct an “investigation” to determine if the
   27   customer came by their seized property legally.
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            PLAINTIFFS’ FIRST AMENDED COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE
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    1         224. In other words, to secure the return of their property, USPV customers
    2   must submit to an investigation and prove their own innocence to Defendants’
    3   satisfaction.
    4         225. Under the Fifth Amendment’s Due Process Clause, the government
    5   may not require that Plaintiffs prove their own innocence in order to retrieve their
    6   own property from the government. See Nelson v. Colorado, 137 S. Ct. 1249
    7   (2017).
    8         226. By effectively holding seized property hostage and forcing USPV
    9   customers to submit sensitive and potentially incriminating personal financial
   10   information to secure its return, the government’s procedure violates the Fifth
   11   Amendment right against self-incrimination. See, e.g., Boyd v. United States, 116
   12   U.S. 616, 630 (1886).
   13         227. By seizing USPV customers’ property until they submit sensitive and
   14   potentially incriminating personal financial information to secure its return, the
   15   government’s procedure forces USPV customers to choose between acquiescing to
   16   a seizure of their property in violation of the Fourth Amendment or surrendering
   17   their Fifth Amendment right against self-incrimination.
   18         228. Named Plaintiffs and putative subclass representatives ask the Court to
   19   enter judgment declaring that Defendants’ use of seized property as leverage to
   20   obtain testimony from USPV customers, or to compel them to give or furnish
   21   evidence, violates the Fifth Amendment.
   22         229. As a direct and proximate result of Defendants’ coercive use of seized
   23   property, named Plaintiffs and putative subclass representatives, along with all
   24   other members of the putative subclass, have suffered irreparable injury to their
   25   constitutional rights, including but not limited to the unjust deprivation of their
   26   property. Declaratory and injunctive relief is necessary to remedy this injury.
   27   Without appropriate declaratory and injunctive relief, this injury will continue.
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    1            230. Jeni Verdon-Pearsons and Michael Storc were required to submit
    2   documentary evidence to the government along with their claim, in order to support
    3   their claim for the return of their property. On information and belief, other
    4   members of the putative subclasses have likewise submitted information to the
    5   government in order to recover their property. Declaratory and injunctive relief is
    6   necessary to remedy this injury. Without appropriate declaratory and injunctive
    7   relief, this injury will continue.
    8                                  INDIVIDUAL CLAIM
    9   COUNT VII: Claim for Return of Property Currently Held in Violation of the
   10                              Fourth and Fifth Amendments
   11            231. Plaintiffs re-allege and incorporate by reference each and every
   12   allegation set forth in ¶¶ 1 through 151 above.
   13            232. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
   14   Verdon-Pearsons, Michael Storc, and Travis May bring this claim for return of
   15   seized property against Defendants under Federal Rule of Criminal Procedure
   16   41(g).
   17            233. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni
   18   Verdon-Pearsons, Michael Storc, and Travis May are entitled to the immediate
   19   return of their property seized from their USPV safe deposit boxes, without any
   20   conditions, delay, or investigation.
   21            234. The property of Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier,
   22   Jeni Verdon-Pearsons, Michael Storc, and Travis May must be returned because
   23   Defendants’ criminal search of their property violated the Fourth Amendment.
   24            235. Separately, the property of Paul and Jennifer Snitko, Joseph Ruiz,
   25   Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May must be
   26   returned because there are no active criminal proceedings or investigations against
   27   these Plaintiffs, and Defendants’ ongoing and unjustified retention of their property
   28   violates the Fourth Amendment.
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    1         236. The government has not initiated forfeiture proceedings against Paul
    2   and Jennifer Snitko or Tyler Gothier.
    3         237. The government listed Joseph Ruiz’s property in the USPV omnibus
    4   notice, but the government has not provided Joseph with any notice of any such
    5   potential forfeiture proceeding. Because the government has not sent any
    6   individualized notice to institute forfeiture proceedings against Joseph, the Court
    7   retains jurisdiction to entertain Joseph’s Rule 41(g) motion for return of seized
    8   property.
    9         238. The government also has not initiated forfeiture proceedings against
   10   Jeni Verdon-Pearsons and Michael Storc with respect to the $2,000 in cash they
   11   stored in the box, and the government also did not list that $2,000 in cash in the
   12   USPV omnibus notice.
   13         239. The government did purport to initiate forfeiture proceedings against
   14   Jeni Verdon-Pearsons and Michael Storc with respect to the silver they stored in the
   15   box, but the notice of those proceedings was procedurally defective. Out of an
   16   abundance of caution, Jeni and Michael submitted claims that terminated the
   17   administrative forfeiture proceeding, and thus the Court retains jurisdiction to
   18   entertain Jeni and Michael’s Rule 41(g) motion for return of seized property with
   19   respect to the silver.
   20         240. The government listed Travis May’ gold in the USPV omnibus notice,
   21   but the government has not provided Travis with any notice of any such potential
   22   forfeiture proceeding. Because the government has not sent any individualized
   23   notice to institute forfeiture proceedings against Travis’ gold, the Court retains
   24   jurisdiction to entertain Joseph’s Rule 41(g) motion for return of seized property.
   25         241. The government purported to initiate administrative proceedings with
   26   respect to the cash that Travis May stored in his box, but the notice of those
   27   proceedings was procedurally defective.
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    1                                 REQUEST FOR RELIEF
    2         Wherefore, Plaintiffs respectfully request that this Court:
    3         A.       Certify this case as a class action under Federal Rule of Civil
    4   Procedure 23(b)(2) on behalf of all renters of U.S. Private Vaults safe deposit boxes
    5   who (a) had property within their safe-deposit box seized by the federal government
    6   on or around March 22, 2021; and (b) have identified themselves to the FBI since
    7   the seizure.
    8         B.       Certify the No Notice Subclass, also under Federal Rule of Civil
    9   Procedure 23(b)(2), consisting of all individuals who meet the criteria for
   10   membership in the proposed class, whose property is still in the possession of the
   11   federal government, and who have not received notices purporting to commence
   12   administrative proceedings against their property.
   13         C.       Certify the Forfeiture Subclass, also under Federal Rule of Civil
   14   Procedure 23(b)(2), consisting of all individuals who meet the criteria for
   15   membership in the proposed class, whose property is still in the possession of the
   16   federal government, and whose property is now the subject of a purported
   17   administrative forfeiture proceeding.
   18         D.       Designate Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler
   19   Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May as Class
   20   Representatives for the proposed class;
   21         E.       Designate Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler
   22   Gothier as Class Representatives for the proposed No Notice Subclass;
   23         F.       Designate Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons, Michael
   24   Storc, and Travis May as Class Representatives for the proposed Forfeiture
   25   Subclass;
   26         G.       Designate Plaintiffs’ counsel of record as Class Counsel for the
   27   proposed class and subclasses;
   28         H.       Issue a class-wide declaratory judgment declaring that;
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    1              i.   With respect to the proposed class, Defendants’ March 22, 2021
    2                   criminal search of USPV customers’ property deposited in safe
    3                   deposit boxes violated the Fourth Amendment;
    4             ii.   With respect to the proposed class, Defendants’ retention and/or
    5                   use of any records or evidence obtained through its unreasonable
    6                   criminal search, except for the limited purpose of reuniting property
    7                   with its owners, violates the Fourth Amendment;
    8            iii.   With respect to the proposed No Notice Subclass, Defendants’
    9                   ongoing retention of property seized from USPV customers’ safe
   10                   deposit boxes—without stating a valid independent basis for its
   11                   continued detention—violates the Fourth Amendment;
   12            iv.    With respect to the proposed Forfeiture Subclass, Defendants’
   13                   commencement of civil forfeiture proceedings without an
   14                   individualized probable cause determination violates the Fourth
   15                   Amendment;
   16             v.    With respect to the proposed No Notice Subclass, Defendants’
   17                   ongoing retention of property seized from USPV customers’ safe
   18                   deposit boxes—without notice or a prompt post-seizure opportunity
   19                   to be heard—violates the Fifth Amendment.
   20            vi.    With respect to the proposed Forfeiture Subclass, Defendants’
   21                   ongoing retention of property seized from USPV customers’ safe
   22                   deposit boxes—and the issuance of administrative forfeiture notices
   23                   that fail to provide any legal or factual bases for the seizure or to
   24                   provide a prompt, meaningful, and fair opportunity to be heard—
   25                   violates the Fifth Amendment.
   26           vii.    With respect to both proposed subclasses, Defendants’ use of
   27                   seized property as leverage to require USPV customers to justify
   28                   their property’s legality violates the Fifth Amendment.
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    1         I.       Issue a class-wide permanent injunction enjoining Defendants from
    2   retaining records created through their March 22, 2021 criminal search and seizure
    3   of property deposited in USPV customers’ safe deposit boxes, except for those
    4   records necessary for reuniting box holders with their property (which should be
    5   held in a manner that ensures they are not available to government officials for any
    6   other use).
    7         J.       Issue a class-wide permanent injunction, for the proposed No Notice
    8   Subclass, enjoining Defendants from:
    9                 i.   Retaining property seized from USPV customers’ safe deposit
   10                      boxes without stating a valid independent basis for its continued
   11                      detention;
   12               ii.    Retaining property seized from USPV customers without notice or
   13                      a prompt post-seizure opportunity to be heard;
   14              iii.    Compelling USPV customers to provide testimony, or prove the
   15                      legality of their seized property, in order to secure its return.
   16         K.       Issue a class-wide preliminary injunction, for the proposed Forfeiture
   17   Subclass, enjoining Defendants from:
   18                 i.   Proceeding with its purported civil forfeiture of USPV customers’
   19                      safe deposit boxes without providing notice of the factual or legal
   20                      basis for the forfeiture;
   21               ii.    Proceeding with its purported civil forfeiture of USPV customers’
   22                      safe deposit boxes without articulating an adequate basis to
   23                      conclude that the government has probable cause to believe the
   24                      individual’s property is subject to forfeiture;
   25              iii.    Compelling USPV customers to provide testimony, or prove the
   26                      legality of their seized property, in order to secure its return;
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    1              iv.   Retaining any documentary evidence or other information
    2                    submitted by property owners in response to the government’s
    3                    facially defective forfeiture notices.
    4         L.      Order Defendants to immediately return the seized property of
    5   Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni Verdon-
    6   Pearsons, Michael Storc, and Travis May—without any conditions, delay, or
    7   investigation—under Federal Rule of Criminal Procedure 41(g) and the Court’s
    8   inherent equitable authority;
    9         M.      Enter an award allowing Plaintiffs to recover their attorney’s fees,
   10   costs, and expenses under 28 U.S.C. § 2412; and
   11         N.      Award any further legal and equitable relief the Court may deem just
   12   and proper.
   13   Dated: June 9, 2021                             Respectfully Submitted,
   14
                                                         /s/ Robert Frommer         s
   15
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